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                           DISTRICT COURT OF THE VIRGIN ISLANDS
                            DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
                      v.                         )     Case No. 3:19-cr-0049
                                                 )
CARL N. DECICCO, III,                            )
                                                 )
                      Defendant.                 )
                                                 )

                                            ORDER
       BEFORE THE COURT is the motion of the United States to correct the judgment of
Carl N. Decicco, III (“Decicco”) due to clear error.
       On December 9, 2019, the Court accepted Decicco’s plea of guilty to the charge of
failure to register as a sex offender, in violation of 18 U.S.C. § 2250. On September 24, 2020,
the Court held a sentencing hearing by video teleconference wherein the Court orally
sentenced Decicco to ten (10) months imprisonment with two weeks of the 10 months to be
served in home detention, followed by one year of supervised release. Later that day, the
United States filed a Rule 35(a) motion to correct judgment for clear error because the
relevant sentencing statute, 18 U.S.C. § 3583(k), requires a minimum term of five years of
supervised release for convictions under 18 U.S.C. § 2250. The Government is correct. The
Court, accordingly, will correct the sentence to include a term of five years supervised
release.
       The premises considered, it is hereby
       ORDERED that the United States’ motion to correct judgment (ECF No. 66) is
GRANTED; it is further
       ORDERED that the term of supervised release in the judgment of Carl N. Decicco, III
be five years.


Date: September 25, 2020                                  /s/ Robert A. Molloy
                                                          ROBERT A. MOLLOY
                                                          District Judge
